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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

 UNITED STATES OF AMERICA,                  CR 20-32-M-DWM

              Plaintiff,                    SENTENCING MEMORANDUM

       vs.

 MATTHEW ANTHONY
 MARSHALL,

              Defendant.



                               INTRODUCTION

      Matthew Anthony Marshall pleaded guilty to one count of wire fraud in

violation of 18 U.S.C. § 1343, one count of money laundering in violation of 18


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U.S.C. § 1957, and one count of tax evasion in violation of 26 U.S.C. § 7201.

PSR ¶ 7. The presentence investigation report has calculated an advisory

Guideline range of 57 to 71 months, based on a total offense level of 25 and a

criminal history category of I. PSR ¶ 130. Both parties object to that range.

      The United States believes the abuse of trust enhancement under USSG

§3B1.3 should apply, which would increase the advisory Guideline range to 70 to

87 months. PSR Addendum at 1.

      Marshall objects to abuse of trust. He also objects to the application of the

specific offense characteristics under USSG §2B1.1(b)(9)(A) (misrepresentation

that the defendant was acting on behalf of a government agency), and

§2B1.1(b)(10) (sophisticated means). If his objections are sustained, the advisory

range would be 41 to 51 months.1

      The United States recommends a custodial sentence at the high end of the

advisory guideline range, restitution in the amount of $3,254,327, three years of

supervised release, and $300 in special assessments. The government also

recommends Marshall be remanded at the conclusion of the sentencing hearing.


1
  Absent the application of §2B1.1(b)(9)(A) and (b)(10), Marshall’s adjusted
offense level for the wire fraud and money laundering would be 23 as opposed to
the current level of 27 or the government’s suggested level of 29. With a fraud
offense level of 23 and a tax offense level of 22, two units would be assigned under
§3D1.4, which would add two levels to the combined adjusted offense level (for a
total of 25). After acceptance of responsibility, the total offense level would be
22, which results in an advisory range of 41-51 months.
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                                    ARGUMENT

    1. Acting on Behalf of a Government Agency – USSG §2B1.1(b)(9)(A)

      Marshall objects to the two-level enhancement under §2B1.1(b)(9)(A),

which applies “if the offense involved . . . a misrepresentation that the defendant

was acting on behalf of a . . . government agency[.]” The pertinent application

note reads as if it were written for this case:

      Subsection (b)(9)(A) applies in any case in which the defendant
      represented [he] was acting to obtain a benefit on behalf of . . . a
      government agency (regardless of whether the defendant actually was
      associated with the . . . government agency) when, in fact, the defendant
      intended to divert all or part of that benefit (e.g., for the defendant’s
      personal gain).

USSG §2B1.1, n. 8(B). That is precisely this scenario. Marshall told the victim

he needed money for missions organized by the CIA for the benefit of the United

States and diverted the funds for his personal gain.

      Marshall’s first text to the victim about the fake missions claimed they were

for the CIA: “Bare (sic) with this odd question, but it directly relates to the good

guy stuff we have talked about. Are you interested in supporting a way off the

books op for the Red Cross?” Exhibit 17 at 1; PSR ¶ 27.2 After the fake mission,

Marshall forwarded the victim a fake quote, allegedly from Cofer Black at the



2
  The exhibit numbers referenced in this memorandum were previously assigned in
preparation for trial and the original trial numbers have been retained for the sake
of consistency.
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CIA, lauding his success: “Just wanted to pass on the text I just got, ‘Anthony, as

you can see from the recent news, your efforts and op execution paid off high

order. Getting number 1 was a direct result of your commitment. Pass that on to

our new friend as well. -CB’” Exhibit 22 at 2.3

      The trend continued with the other missions. Before the second fake

operation, Marshall, after falsely claiming Cofer Black had cancer, wrote that he

“Inquired about another ‘trip’ to recover 2 personnel but I told him we probably

wouldn’t have that in the budget this year.” Exhibit 25 at 2; PSR ¶¶ 33-34. The

fourth fake mission involved Marshall working directly with government agencies

– Delta Force and the CIA – and the money for the fifth “operation” was supposed

to go directly to Navy SEALS for targeting operations in the Middle East. PSR

¶¶ 41, 46-47. Marshall touted every fictitious venture as being sponsored and

authorized by the CIA, for the benefit of that and other agencies, which is exactly

what the enhancement in §2B1.1(b)(9)(A) is designed to address.

      Marshall cites United States v. George, 713 Fed. Appx. 704 (9th Cir. 2018)

(unpublished), in support of his argument against the enhancement. PSR

Addendum at 6. George involved vague references to government agencies, not


3
  This exhibit, and the others with the same format, are text messages from
Marshall’s phone, which he provided to the Whitefish Police Department in
connection with an unrelated investigation. The messages are in reverse
chronological order, with the oldest messages at the bottom of the last page of each
exhibit. “Me” in all of these text exhibits is Marshall.
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direct claims that money would be used to conduct government-sponsored

missions for the benefit of government agencies and employees. George has no

application here. Two other cases Marshall cites actually support the application

to facts such as these. United States v. White, 850 F.3d 667, 675 (4th Cir. 2017)

(applying the enhancement based on false tax documents and a voicemail message

from an alleged tax collector); United States v. Nieves, 727 Fed. Appx. 721, 724

(2d Cir. 2018) (unpublished) (applying the enhancement when defendant

misrepresented he was a federal immigration officer). The foundation of

Marshall’s scheme was to convince the victim to fund government-authorized

missions to benefit government agencies. The two-level enhancement under

§2B1.1(b)(9)(A) clearly applies.

   2. Sophisticated Means – USSG §2B1.1(b)(10)(C)

      The sophisticated means enhancement applies if “the offense otherwise

involved sophisticated means and the defendant intentionally engaged in or caused

the conduct constituting sophisticated means[.]” USSG §2B1.1(b)(10)(C).

“Sophisticated means” is defined as “especially complex or especially intricate

offense conduct pertaining to the execution or concealment of an offense.”

§2B1.1, n. 9(B).

      The record in this case abounds with examples of Marshall’s intricate

conduct in the construction and concealment of his scheme to defraud. The


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following are just some examples:

    Marshall sent the victim prayer beads he claimed he removed from the body
     of a dead terrorist to add color to his claimed CIA affiliation. Exhibit 6.

    He showed the victim what he alleged was a legitimate, classified DD 214
     that apparently referenced his extensive training and experience as a Force
     Recon Marine. Exhibit 8a. No such document exists in Marshall’s
     military files.

    In addition to the fake text messages referenced above, in 2015, to
     perpetuate the myth he worked for the CIA under Cofer Black, Marshall
     obtained fake phone numbers using a phone application called Burner.
     Exhibit 134. He used two numbers with Virginia area codes, logged the
     numbers into his contacts as being affiliated with Black (so the messages
     would appear on his phone as having been sent from “Cofer”), and sent
     himself fake messages, purportedly from Black. Exhibit 134i. Cofer
     Black has never been associated with either Virginia number Marshall used
     via the Burner app and does not know Marshall at all. Exhibit 338.

    Marshall used the same Burner app to send himself fake messages from
     alleged CIA colleagues that essentially claimed the CIA operative in the
     movie Sicario 2 was based on him. Exhibits 134, 134a, 134b.

    To fully embrace the Force Recon fallacy, Marshall got a Force Recon
     tattoo, which shows the lengths he was willing to go to misrepresent his
     military service and other aspects of his manufactured background. PSR
     ¶ 111.

    When the pressure mounted concerning his credentials, he claimed he had a
     life-threatening medical condition, which is conspicuously absent from the
     information he provided to the Probation Office in preparation of the PSR.
     PSR ¶¶ 111-113. Marshall used the Burner app again to help substantiate
     that claim by subscribing to a Minnesota area code and sending himself fake
     text messages allegedly from neurologists at the Mayo Clinic. Exhibits
     134, 134c.

    After Marshall suspected he might be investigated and his scheme
     uncovered, he shifted from defense to offense in an effort to undermine the

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      victim’s credibility. As part of that effort, Marshall created fake emails
      allegedly from the victim’s accountant and provided them to the IRS in the
      hopes of making the victim the target of a criminal investigation. Exhibits
      136b-136g.

      The fake IRS emails require some explanation, which provides further

evidence of the level of sophistication Marshall employed to execute the scheme to

defraud. Exhibit 136b is an authentic email thread between Marshall and the

victim’s accountants, which Marshall used as a template for his fake messages.

Exhibit 136c shows Marshall forwarding a partially-forged version of the authentic

thread to one of his Protonmail accounts. Exhibit 136d contains copies of the fake

emails that were found on a thumb drive in Marshall’s home office during the

execution of a search warrant in December 2018. Page 5 of that exhibit shows the

metadata for those fake emails, reflecting creation dates of November 28, 2018.

Exhibit 136e is a Google search Marshall performed one day later, November 29,

2018, inquiring “how to clean metadata from a forwarded email.” Exhibit 136f is

an email from Marshall’s then-lawyer forwarding the fake emails to IRS Agent

Brett Seamons. And Exhibit 136g, the same fake emails, were hard copies printed

by Marshall and seized during the search of his residence from a manila folder

labeled “Operation Lima.” “Lima” was the victim’s call sign during the time

Marshall was in charge of his personal security.

      United States v. Horob, 735 F.3d 866 (9th Cir. 2013), a case cited by

Marshall in support of his objection, is instructive here. As the Ninth Circuit

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noted, “Horob’s scheme was complex. Horob did more than lie to obtain a loan.

He manipulated several people to lie for him, used several different bank accounts

(including accounts of other people) to move funds around, and fabricated

numerous documents. Moreover, the complicated and fabricated paper trail made

discovery of his fraud difficult.” Horob, 735 F.3d at 872.

      While Marshall is correct that the money trail in this case was not complex,

nearly every other aspect of his fraud meets the definition of sophisticated means.

The layers of lies he constructed surrounding his military and CIA experience

made it almost impossible for the victim to question. His willingness to conjure

fake emails and texts and forged DD 214s – among several other documents – and

his ability to manipulate certain confederates to endorse his phony past, provided

layers of insulation illustrative of a scheme that was “especially complex or

especially intricate,’ compared to the usual fraud offense.” Id. (citing §2B1.1, n.

9(B)). The PSR properly included the two-level enhancement for sophisticated

means.

   3. Abuse of Trust – USSG §3B1.3

      Marshall objects to the two-level abuse of trust enhancement under USSG

§3B1.3. That guideline provides:

      If the defendant abused a position of public or private trust . . . in a
      manner that significantly facilitated the commission or concealment of
      the offense, increase by 2 levels.


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USSG §3B1.3. Discretion is particularly important when determining whether to

apply the abuse of trust enhancement. “‘Public or private trust’ refers to a

position of public or private trust characterized by professional or managerial

discretion (i.e., substantial discretionary judgment that is ordinarily given

considerable deference).” USSG §3B1.3, n. 1. To apply abuse of trust, “the

position of public or private trust must have contributed in some significant way to

facilitating the commission or concealment of the offense (e.g., by making the

detection of the offense or the defendant’s responsibility for the offense more

difficult).” Id.

         Marshall correctly notes that abuse of trust cannot apply if the enhancement

under §2B1.1(b)(9)(A) applies and the conduct supporting that enhancement “is

the only conduct that forms the basis” for abuse of trust. The trust the victim

placed in Marshall was as much personal as professional and the level of personal

trust provides an independent basis to add two points under §3B1.3. Marshall

went to great lengths to obtain the victim’s personal trust, as a friend, by

emphasizing loyalty and his willingness to protect the victim and his interests at all

costs.

         For example, in the letter where Marshall lied about how he acquired the

prayer beads he sent the victim, he wrote: “I want you to know the person I am

beyond being a ‘stone cold killer’ because there is more to me than meets the eye.


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My loyalty is fierce to the point that if you called me right now and needed

anything, I’d make it happen no matter the risks or stakes involved.” Exhibit 6;

PSR ¶ 17. Later, as Marshall and the victim continued to solidify their

relationship, the victim told Marshall he was “looking forward to the next chapter

of the life ride, with you right along next to me.” Exhibit 9. Marshall replied:

“Me too . . . couldn’t have picked a better, more solid guy to make the next chapter

of my life with.” Id.

      As the PSR notes, the victim installed Marshall as the CEO of Amyntor and,

even before that entity was formally chartered, provided funding and unlimited

oversight to Marshall to form the new company, demonstrating a significant level

of trust separate and apart from Marshall’s lies about the CIA-sponsored missions.

PSR ¶¶ 24-25, 36-37, 43-44. In addition, Marshall was responsible for personal

security for the victim and his family, which is a topic Marshall raised during his

first email to the victim in January 2012. Exhibit 1.

      Once installed as head of security, Marshall quickly learned about the

victim’s safety concerns and used those concerns to his full advantage in order to

gain the victim’s unwavering trust, which he used to facilitate the execution of his

scheme to defraud. In 2016, Marshall used his Burner app to subscribe to a

number with a 415 area code, knowing the victim was concerned about being

stalked by a resident of that area. Exhibit 134. Marshall then sent himself a fake


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text from that number, likely in the hopes of alarming the victim so he could

remain in the role as trusted security advisor. Exhibit 134d. He did the same

thing in 2017, using a 702 area code to send himself a message that he forwarded

to the victim. Exhibit 134, 134f. During his subsequent discussion with the

victim about the fake message, Marshall wrote: “I worry sometimes you think I’m

compartmentalizing things away from you but it is ONLY to protect you, [victim’s

then-girlfriend], the kids and your family.” Exhibit 134f at 1. Later, Marshall

emphasized he was “just asking for trust and faith that I have your back all the way

. . . .” Id.

       Marshall’s false representations that the fake missions were government-

authorized certainly facilitated the fraud in this case, which is why the

enhancement under §2B1.1(b)(9)(A) applies. But the significant level of trust the

victim reposed in Marshall on a personal level, as a friend, and in relation to

Marshall’s role as the victim’s head of security, is a different course of conduct

that supports the application of the abuse of trust enhancement under §3B1.3. As

the Ninth Circuit noted in United States v. Christiansen, 958 F.2d 285, 288 (9th

Cir. 1992), a defendant must exploit the trust relationship to facilitate the offense.

Marshall did that in this case by flaunting his alleged credentials and by forming a

trusting personal bond with the victim, which assisted Marshall in executing the

scheme to defraud. The friendship he fostered and the personal protection he


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promised to provide support the application of the abuse of trust enhancement

under §3B1.3.

                              RECOMMENDATION

      Section 3553(a) of Title 18 of the United States Code contains prefatory

language: “The court shall impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this

subsection.” Those purposes include the need for the sentence to:

      ●      reflect the seriousness of the offense;

      ●      promote respect for the law;

      ●      provide just punishment for the offense;

      ●      afford adequate deterrence to criminal conduct;

      ●      protect the public from further crimes of the defendant; and,

      ●      provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective
             manner.

      In addition, subsection (1) of § 3553(a) requires the Court to consider the

nature and circumstances of the offense and the history and characteristics of the

defendant; subsection (3) requires the Court to consider the kinds of sentences

available; subsections (4), (5), and (6) require the Court to consider the sentencing

guidelines and policy statements, and to avoid unwarranted sentencing disparity;

and subsection (7) requires the Court to provide restitution to victims.


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      In this case, the application of the factors in 18 U.S.C. § 3553(a), including

Marshall’s history and characteristics, the seriousness of the offense, and the needs

for specific and general deterrence, just punishment, to promote a respect for the

law and to protect the public, supports the imposition of a sentence of incarceration

at the high end of the advisory range, which the government believes should be 87

months.

      Marshall’s lack of respect for the law, which dovetails with several other

3553(a) factors, is deeply concerning. While he has no scoreable criminal history,

he was convicted of public intoxication and disorderly conduct in 2010 after he

refused to cooperate with law enforcement and demonstrated an “abusive attitude.”

PSR ¶ 98. He also obtained and distributed steroids from at least 2012 to 2015, as

evidenced by text messages he exchanged with two different individuals during

that time, in which they discuss terms like “deca” (Deca Durabolin), “sus”

(Sustanon), “test” (testosterone), “test cyp” (Testosterone cypionate), Andadrol,

and Anavar. PSR ¶ 101; Exhibits 336 and 337.

      In this case, Marshall’s lack of respect for the law goes way beyond the

analysis of scored and unscored criminal history. The following facts, among

many others, illustrate Marshall’s disregard for the law, law enforcement, and the

truth in general:

    The Court is well aware of the elaborate lies Marshall told about serving as a
     Force Recon Marine, including claims he was awarded both a Silver Star

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      and a Bronze Star, which he now acknowledges were entirely false. PSR
      ¶ 120. It is not clear whether he intends to cling to the lies about working
      for the CIA, though the record is replete with evidence, much of it outlined
      above, that he was never associated with that agency in any capacity.

    Marshall lied to the Indiana State Police in order to get hired in 1996,
     neglecting to disclose he had resigned from the police department in Marion,
     Indiana because he was the suspect in a residential burglary. Exhibit 116 at
     4. He lied again in 1998 when he parlayed his fake military service into a
     coveted position on the state police Emergency Response Team. Id. at 3.
     Marshall resigned from the Indiana State Police when his duplicity was
     discovered. Id. at 5.

    Marshall petitioned for bankruptcy in 2003. PSR ¶ 126. On his Schedule
     I, signed under penalty of perjury, Marshall lied about his dependents. He
     claimed Chris Wernick as his son when, in reality, Wernick is Marshall’s
     nephew. Exhibit 117 at 22.

    In November 2018, after the victim dissolved Amyntor and multiple people
     were challenging his credentials, Marshall, using another Protonmail
     account, sent an ominous email to the victim. Exhibit 140; PSR ¶ 56. That
     message, sent from Aliceinwonderland63@protonmail.com, was originally
     attributed to someone else. But during the search of Marshall’s residence in
     December 2018, a printed list was seized that included passwords for several
     of Marshall’s Protonmail accounts, including Aliceinwonderland63.
     Exhibit 140a. The victim was alarmed and unnerved by Marshall’s
     statement about unleashing “death and destruction” on the victim’s world as
     well as his warning that “you can’t help yourself and your evil queen will rot
     with you.” Exhibit 140.

      Marshall’s lack of respect for the law is further exemplified by his efforts to

manipulate law enforcement officers. He sidled up to the police chief in

Whitefish, cultivating a friendship that he later used to his benefit whenever

possible. He expressed a willingness to let the chief “fix” a speeding ticket for

one of Marshall’s friends, even saying, “If you drop it I will owe you a cold beer.”


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Exhibit 309 at 7. On another occasion, Marshall asked the chief for an

opportunity to “chat” with the suspect of a crime and “encourage him to relocate

out of Whitefish.” Exhibit 310 at 2. The chief responded: “That can be arranged,

recording off of course[,]” and Marshall agreed: “Of course. Technical

malfunction.” Id. at 1.

      As it relates specifically to this case, and to Marshall’s attempts to

undermine the victim’s credibility at any cost, Marshall worked with the chief to

set up another officer for alleged bribery for accepting the victim’s invitation to

participate in a guided hunting trip outside Montana. Exhibit 316. Marshall and

the chief exchanged strategic text messages over the course of two months and the

officer they targeted eventually resigned. Id. at 1. Before the resignation,

however, Marshall texted the chief that he was worried “if you spill the beans to

[officer] before the hunting trip he won’t go. For what it’s worth I’d slow roll it a

bit and not do anything to spook him before the trip.” Id. at 12. Later, Marshall

asked the chief: “Are you going to give me a break and take a deep breath and let

[officer] go on this trip Friday? I’d offer you a year of free golf but that might be

bribery. If you let him go that’s going to help the overall cause.” Id. at 8. The

“overall cause” was to denigrate the victim from multiple angles in the hopes

Marshall’s fraudulent conduct went uninvestigated.

      Marshall’s willingness to capitalize on a relationship with the head of a law


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enforcement agency in order to exact revenge against the victim – and end another

officer’s career in the process – is an astounding example of his lack of respect for

the law.

      A thorough review of the record in this case reveals that, in some respects,

Marshall’s fraud scheme followed a familiar course. He befriended the victim,

made material misstatements, and convinced the victim to part with money that

Marshall used to fund a lavish lifestyle he otherwise never could have afforded.

In a litany of other ways, however, Marshall broke the mold. The lengths he was

willing to go to execute and cover up his scheme are nothing short of remarkable.

His level of manipulation of those around him, including intelligent and

accomplished individuals, highlights the seriousness of his offense and the danger

he poses to the community.

      Rather than attempt to fade into obscurity when the walls closed in, Marshall

went on offense, engaging in a scorched-earth assault on the victim’s credibility, as

well as anyone else who dared to step in his way. He had no qualms about ending

people’s careers, forging documents, acquiring fake phone numbers and email

accounts to send manufactured messages, lying about his background and his

mentors or filing false reports with law enforcement agencies if his goals could be

achieved and his needs met. There was no end to the falsehoods Marshall told to

extract what he wanted and only when confronted with a mountain of irrefutable


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evidence did he cede any ground. His conduct ranges far beyond the traditional

pattern of obtaining money by making material misstatements. Marshall’s crimes

are indicative of a person in need of specific deterrence, just punishment, and a

term of imprisonment sufficient to protect the public from the further offenses he

seems certain to commit.

                                  CONCLUSION

      For the reasons outlined above, the United States recommends a sentence of

imprisonment of 87 months, followed by three years of supervised release. The

government also recommends restitution in the amount of $3,254,327, and special

assessments of $300.

      DATED this 25th day of February, 2022.

                                       LEIF M. JOHNSON
                                       United States Attorney


                                       /s/ Timothy J. Racicot
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff


                                       /s/ Ryan G. Weldon
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule, this certifies that the body of the attached response

contains approximately 3,816 words, excluding the caption, certificate of

compliance, and certificate of service.

                                          LEIF M. JOHNSON
                                          United States Attorney


                                          /s/ Timothy J. Racicot
                                          Assistant U.S. Attorney
                                          Attorney for Plaintiff


                                          /s/ Ryan G. Weldon
                                          Assistant U.S. Attorney
                                          Attorney for Plaintiff




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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 25, 2022, a copy of the foregoing document

was served on the following persons by the following means:

      (1,2) CM/ECF
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1.    Clerk, U.S. District Court

2.    Justin K. Gelfand
      7700 Bonhomme Ave., Ste. 750
      St. Louis, MO 63105
      (314) 390-0234
      justin@margulisgelfand.com




                                        /s/ Timothy J. Racicot
                                        Assistant U.S. Attorney
                                        Attorney for Plaintiff


                                        /s/ Ryan G. Weldon
                                        Assistant U.S. Attorney
                                        Attorney for Plaintiff




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